
OPINION OF THE COURT
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [g]), order modified, with costs to appellant, to the extent of reinstating the complaint insofar as it seeks damages and, as so modified, affirmed. Contrary to the determination by the Appellate Division, to the extent that the complaint seeks damages, a viable claim is presented despite the payment of the mortgage indebtedness. Nothing in section 278 of the Debtor and Creditor Law militates against recognition of the associated but separate claims asserted in the complaint.
Concur: Chief Judge Cooke and Judges Jasen, Jones, Wachtler, Fuchsberg, Meyer and Simons.
